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                              UNITED STATES DISTRICT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                             )
                                             )
v.                                           )      Case No. 22-cr-00015-APM

THOMAS E. CALDWELL                           )
                                             )
                                             )
                      Defendant              )
                                             )



DEFENDANT CALDWELL’S OPPOSITION TO THE GOVERNMENT’S MOTION
           IN LIMINE REGARDNG CLOSING ARGUMENTS

       Defendant Thomas E. Caldwell, by and through his attorney, David W. Fischer, Esq.,

respectfully requests that the Court deny the government’s request to preclude Caldwell from

making certain arguments in closing. (ECF 393). The government’s motion should be

denied.

       First, the government seeks to preclude “Caldwell from arguing, among other similar

statements, that the FBI believed that defendant Caldwell led the attack on the Capitol on

January 6.” (ECF 393, at 1). The government’s argument is without merit. First, Special

Agent Palian specifically testified that Mr. Caldwell, Jessica Watkins, and Donovan Crowl

were, before the instant indictment, charged under a theory that they planned an attack on the

U.S. Capitol:

       Q. Well, sir, [Caldwell] was only charged with two other people when you
       originally charged him: Jessica Watkins and Donovan Crowl; right?
       A. Yes.
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        Q. Okay. And you alleged he had a plan about attacking the Capitol; right?
        A. Correct.
(Tr. 1665) (emphasis added). After the undersigned pointed out that the bulk of the evidence
supporting the instant indictment occurred months after Caldwell’s arrest, Special Agent Palian
testified:
        Q. So by logic, sir, that means that you must have been alleging a different plan
        than the Serbian plan?
        A. Yes.
        Q. Okay. So, in other words, that would be something different than what Mr.
        Caldwell or what Mr. Rhodes is alleged to have led in this case. That's what I'm
        saying; correct?
        A. I believe so. I think that's fair.
(Tr. 1666) (emphasis added). Special Agent Palian also agreed that an amended criminal

complaint he filed in January 2021 accused Caldwell of conspiring to “forcibly storm the

United States Capitol.” Id. In short, the government’s prior claims contained in its earliest

charging documents that Mr. Caldwell plotted an attack on the Capitol Building are clearly in

evidence. Accordingly, Caldwell should be entitled to present this evidence to the jury in

furtherance of his “rush to judgment” theory of the case.

        The government also seeks to preclude the defense from making arguments regarding

Stewart Rhodes not being charged until January 12, 2022. The government’s request is

without merit. Rhodes is a co-defendant in this case and the date of his arrest is already in

evidence. Moreover, multiple FBI agents—in remarkably similar verbiage—have testified

that the danger a suspect allegedly poses to the country causes quick, “arrest first, investigate

later scenarios.” The government has portrayed Rhodes as extremely dangerous. That

Caldwell was charged based upon a few hours of investigation while Rhodes, despite

overwhelming law enforcement surveillance, was not charged until a year after Caldwell,
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casts doubt on the accuracy of the testimony of multiple FBI agents as well as the reliability

of the investigation.1 Additionally, evidence has been elicited that nine to twelve months

after Caldwell’s quick arrest, the FBI was asking basic questions, such as: “What was the

QRF for?” and “Why did the QRF have guns?” and “Was there a premeditated plan to attack

the Capitol?” The delayed arrest of Rhodes highlights short-comings in the FBI’s

investigation and is fair game for Caldwell’s closing argument.

       The Government next seeks to preclude “Caldwell’s counsel from arguing that the jury

can infer that defendant Caldwell told the truth to the FBI in his post-arrest interview because the

government has not charged him with violating 18 U.S.C. § 1001.” This request should be

denied. Special Agent Palian during his testimony repeatedly questioned Caldwell’s truthfulness

during his FBI interview. Agent Palian testified:

       Q. And by the way, you said that Mr. Caldwell wasn't -- you know, you said that

       he had lied; is that right?

       A. He did.

(Tr. 1651) (emphasis added). Special Agent Palian also testified that he warned Caldwell that

lying during his FBI interview was a crime:

       Q. And to be clear, in this case today, he's not charged with lying to you, is he?

       A. No, he's not been charged with that.
       Q. Okay. And -- and so, in fact, during your interview, you warned him -- you
       gave him the Martha Stewart warning. You said it was a crime to lie to the FBI; is
       that right?
       A. Correct.


1
 The Government’s request to preclude Caldwell from arguing that Caldwell’s arrest was big
news at the time should also be denied. (Tr. 1660) (Q. In fact, sir -- I mean, this was a pretty big
case at the time. A. Still is.).
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(Tr. 1637). Finally, Special Agent Palian claimed that the FBI could not trust a word that

Caldwell said during his interview:

       Q. Okay. Well, in fact, sir, your agents were specifically investigating after --
       after you interviewed Mr. Caldwell whether he was on Zello; right?
       A. I think we looked to confirm that because we couldn't really trust anything that
       Mr. Caldwell said necessarily, but we -- we continued to look because we always
       look for corroboration of facts.
(Tr. 1657) (emphasis added). That Caldwell has not been charged with lying to the FBI is a fact
already in evidence and highly relevant to Caldwell’s defense.
       Accordingly, Caldwell should be allowed to argue in closing 1) that the FBI specifically
warned him that he could be charged with a crime for lying to the FBI; and 2) that the FBI did
not charge Caldwell with lying during his interview.2


       WHEREFORE, Caldwell respectfully requests that the government’s motion be

denied.



                                                      Respectfully submitted,



                                                      /s/David W. Fischer, Esq.
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2
  Caldwell will not make arguments regarding a “tactical band of fighters” but will note to the
jury that no military training, equipment, and materiel was ever located at the Caldwell farm.
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                              CERTFICATE OF SERVICE
       I HEREBY CERTIFY that on this 18th day of November 2022, a copy of the
foregoing Opposition to the Government’s Motion in Limine to Preclude Certain Defense
Arguments was electronically filed with the Clerk of the United States District Court using
CM/ECF, with a notice of said filing to the following:
      Counsel for the Government:          Office of the United States Attorney/DOJ
                                           Kathryn Rakoczy, Esq.
                                           Jeffrey Nestler, Esq.
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                                                       /s/___________________
                                                  David W. Fischer, Esq.
